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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF NEW YORK


 THOMAS HUNDLEY,                                                Civil Case Number: 5:23-CV-1644 (GTS/ML)

                        Plaintiff,                           CIVIL ACTION
                                                              COMPLAINT
                  -against-                                      AND
                                                         DEMAND FOR JURY TRIAL
 XTREME AUTO RECOVERY, INC.,

                        Defendant.

       Plaintiff THOMAS HUNDLEY (hereinafter, “Plaintiff”), a New York resident, brings this

Complaint by and through the undersigned attorneys, Marcus & Zelman, LLC, against Defendant

XTREME AUTO RECOVERY, INC. (hereinafter “Defendant”).

                                     JURISDICTION AND VENUE

   1. The Court has jurisdiction over this action under 28 U.S.C. § 1331, 15 U.S.C. § 1692 et

       seq. and 28 U.S.C. § 2201. The Court also has pendent jurisdiction over the state law

       claims in this action pursuant to 28 U.S.C. § 1367(a).

   2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).

                                     NATURE OF THE ACTION

   3. Plaintiff brings this action after the Defendant illegally repossessed his vehicle even though

       they did not have an enforceable security interest in his vehicle, thereby violating the NY

       UCC. Plaintiff also brings a claim against the for illegally repossessing his vehicle in

       violation of the Fair Debt Collection Practices Act, codified at 15 U.S.C. § 1692.

   4. Plaintiff is seeking statutory damages, punitive damages and actual damages, as well as

       attorneys fees and costs.




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                                                PARTIES

      5. Plaintiff is a natural person and a resident of Auburn, New York and is a “Consumer” as

         defined by 15 U.S.C. §1692(a)(3).

      6. Defendant XTREME AUTO RECOVERY, INC., (hereinafter referred to as “Xtreme”), is

         a repossession company, with its principal place of business in Constantia, New York.

      7. Upon information and belief, Defendant Xtreme is a company that uses the mail, telephone,

         or facsimile in a business the principal purpose of which is the enforcement of security

         interests, namely the repossession of vehicles by lenders.

      8. In fact, Xtreme’s website proudly boasts that “Xtreme Auto Recovery Inc. is a professional

         repossession agency providing complete recovery services to banks, credit unions, car

         dealers, auctions, finance companies and law firms. We repossess all types of assets which

         includes just about anything that can be moved, transported, stored, and auctioned. Xtreme

         Auto Recovery Inc. covers the Upstate New York area, and specializes in repossessions on

         the Fort Drum military base.” 1

      9. Defendant Xtreme is a “debt collector,” as defined under the FDCPA under 15 U.S.C. §

         1692a(6).

                                    ALLEGATIONS OF FACT

      10. Plaintiff repeats, reiterates and incorporates the allegations contained in the above

         paragraphs with the same force and effect as if the same were set forth at length herein.

      11. The Plaintiff owns a 2010 Chevy Malibu, which he owned for years.

      12. The Plaintiff does not have any loans encumbering the title of this vehicle.

      13. While owned by the Plaintiff, the vehicle has always had a clean title and no liens recorded



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    http://www.xtremeautorecovery.com/, last visited on December 25, 2023.


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   against the title.

14. Plaintiff has never been aware of any liens or financing secured by the vehicle.

15. Upon information and belief, however, and unbeknownst to Plaintiff, Hertz supposedly

   claims that it has a security interest in the Chevy Malibu.

16. As a result, Hertz apparently contracted with Xtreme to repossess the Plaintiff’s vehicle.

17. Upon information and belief, after being contracted by Hertz to repossess the Plaintiff’s

   vehicle, Xtreme proceeded to carry out the actual repossession.

18. On September 6, 2023, the Plaintiff discovered that his vehicle was gone.

19. Believing the vehicle to be stolen, the Plaintiff called the police to report the vehicle as

   stolen.

20. The police advised that the car had been repossessed by the Defendant, on behalf of Hertz.

21. However, Hertz denies that it ever owned the vehicle or that it ever ordered this

   repossession.

22. Plaintiff then called Xtreme and advised them that they should not have taken his vehicle.

23. Nevertheless, Xtreme would not let the Plaintiff pick up his vehicle or the possessions

   inside of it.

24. Plaintiff then threatened a suit against Xtreme and Xtreme then brought back the vehicle

   the next day, on September 7, 2023.

25. However, when the vehicle was returned, the vehicle had sustained damages.

                                         COUNT I

     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                       15 U.S.C. §1692f et seq.

26. Plaintiff repeats, reiterates and incorporates the allegations contained in the paragraphs

   above herein with the same force and effect as if the same were set forth at length herein.



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27. Plaintiff brings this Count against Defendant Xtreme.

28. Section 1692f of the FDCPA prohibits debt collectors from using any unfair or

   unconscionable means to collect or attempt to collect any debt.

29. Section 1692f(6) of the FDCPA specifically prohibits debt collectors from taking or

   threatening to take any nonjudicial action to effect dispossession or disablement of property

   if:

           (A)     there is no present right to possession of the property claimed as
                   collateral through an enforceable security interest; or

           (C)     the property is exempt by law from such dispossession or
                   disablement.

30. At the time of the repossession, the Defendant did not have an enforceable security interest

   in the Plaintiff’s vehicle, but they seized the vehicle anyway and then held that vehicle

   even after they were alerted that they had no right to take the vehicle.

31. Furthermore, because the Defendant did not have an enforceable security interest in the

   vehicle, the vehicle was clearly exempt by law from dispossession.

32. As a result, Defendant Xtreme violated 15 USC § 1692f(6) when it repossessed the

   Plaintiff’s vehicle.

33. By illegally repossessing the Plaintiff’s vehicle in violation of the FDCPA, Defendant

   harmed the Plaintiff, in subjecting the Plaintiff to improper and deceptive collection

   activity, in violation of the Plaintiff’s statutorily created rights to be free from such a debt

   collector's inappropriate attempts to collect a debt, and from being subjected to false,

   deceptive, unfair, or unconscionable means to collect a debt.

34. Defendant’s illegal activity also harmed the Plaintiff by causing him to suffer anger,

   anxiety, emotional distress, frustration and embarrassment, by causing him to waste time




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   and effort in having to regain possession of the vehicle, by depriving him of his

   possessions, by forcing him to spend money to repair his vehicle, and by causing the

   Plaintiff to lose wages.

35. By reason thereof, Defendant Xtreme are liable to the Plaintiff for judgment that

   Defendant’s conduct violated 15 USC §1692f, statutory damages, actual damages, costs

   and attorneys’ fees.

                                        COUNT II

                              UNLAWFUL REPOSSESSION
                                NY UCC, § 9-609 et seq.

36. The Plaintiff repeats and re alleges the preceding paragraphs of this Complaint and

   incorporates the same herein.

37. New York only permits self-help repossession of consumer motor vehicles only after

   default, and only where the lender has an enforceable security interest. N.Y. U.C.C. Law §

   9-609.

38. At the time of the repossession, the Defendant did not have an enforceable security interest

   in the Plaintiff’s vehicle, but they seized the vehicle anyway and then held that vehicle for

   a period of time, even after they were alerted that they had no right to take the vehicle.

39. As a direct and proximate result of the Defendant’s illegal repossession, Plaintiff suffered

   damages, including the loss of use of the vehicle, the loss of the right to pre repossession

   judicial process, as well as mental and emotional harm including frustration and

   embarrassment.

40. By illegally repossessing the Plaintiff’s vehicle in violation of the UCC, Defendant harmed

   the Plaintiff, in subjecting the Plaintiff to improper and deceptive collection activity, in

   violation of the Plaintiff’s statutorily created rights to be free from such a debt collector's



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   inappropriate attempts to collect a debt, and in subjecting Plaintiff to unfair and

   unconscionable means to collect a debt.

41. Defendant’s illegal activity also harmed the Plaintiff by causing him to suffer anger,

   anxiety, emotional distress, frustration and embarrassment, by causing him to waste time

   and effort in having to regain possession of the vehicle, by depriving him of his

   possessions, by forcing him to spend money to repair his vehicle, and by causing the

   Plaintiff to lose wages.

                                       COUNT III

                                     CONVERSION


42. Plaintiff repeats, reiterates and incorporates the allegations contained in the paragraphs

   above herein with the same force and effect as if the same were set forth at length herein.

43. As set forth above, the Defendant wrongfully repossessed the Plaintiff’s vehicle even

   though they had no enforceable security interest in the vehicle and Plaintiff was instead

   entitled to the present use of his own vehicle.

44. The Defendant then held Plaintiff’s vehicle for a period of time, thereby exercising control

   over the Plaintiff’s property.

45. Defendant’s conversion of Plaintiff’s vehicle harmed Plaintiff, by literally stealing and

   holding his vehicle and by damaging that vehicle. Defendant further harmed the Plaintiff,

   in subjecting the Plaintiff to improper and deceptive collection activity, in violation of the

   Plaintiff’s statutorily created rights to be free from such a debt collector's inappropriate

   attempts to collect a debt, in depriving him of the use of his vehicle, in causing Plaintiff to

   waste countless hours in trying to recover his vehicle, and by subjecting him to unfair and

   unconscionable means to collect a debt.



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   46. Defendant’s illegal activity also harmed the Plaintiff by causing him to suffer monetary

      damages, lost wages, anger, anxiety, emotional distress, frustration and embarrassment.

   47. By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant wrongfully

      converted the Plaintiff’s vehicle and personal possessions, actual damages, punitive

      damages, costs and attorneys’ fees.

                               DEMAND FOR TRIAL BY JURY

   48. Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

      trial by jury on all issues so triable.

                                       PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands judgment against Defendant as follows:

              (a)     awarding Plaintiff his actual damages incurred, as well as punitive

                      damages;

              (b)     awarding the Plaintiff statutory damages, along with the attorneys’ fees

                      and expenses incurred in bringing this action;

              (c)     Awarding pre-judgment interest and post-judgment interest; and

              (f)     Awarding Plaintiff such other and further relief as this Court

                      may deem just and proper.


Dated: December 27, 2023                        /s/ Yitzchak Zelman
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